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          Deposition of ERIC LU, called as a witness by             DEFENDANT and COUNTER-CLAIMANT'S
                                                                      EXHIBITS, CONTINUED
    the Defendant and Counter-Claimant, before              Exhibit 8      Cash Capital Agreement for the
    HELENA FLORES, Certified Shorthand Reporter                         Purchase and Sale of Future
                                                                        Receipts, Bates Labeled
    Number 13313, for the State of California, with                     CCG 000018 to -28            94
    principal office in the County of Los Angeles,          Exhibit 9      UCC Financing Statement, Bates
                                                                        Labeled CCG 000001           103
    commencing at 9:58 A.M., September 13, 2018, at
    21650 Oxnard Street, Suite 500, Woodland Hills,
    California.
                    * * *
                                                                  QUESTIONS WITNESS INSTRUCTED NOT TO ANSWER
    APPEARANCES OF COUNSEL:                                                Page   Line
                                                                           11     12
                                                                           12     8
          For the Plaintiff and
          Counter-Defendant:
             LAW OFFICES OF ROGER C. HSU
             BY: ROGER C. HSU, ESQ.
             175 South Lake Avenue
             Suite 210                                                   INFORMATION REQUESTED
             Pasadena, California 91101
             (626) 792-7936                                                  (None.)



          For the Defendant and
          Counter-Claimant:
             LAZARUS & LAZARUS, P.C.
             BY: HARLAN M. LAZARUS, ESQ.
             240 Madison Avenue
             8th Floor
             New York, New York 10016
             (212) 889-7400

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                 INDEX                                              Woodland Hills, California
    Examination                   Page                       Thursday, September 13, 2018; 9:58 A.M. - 2:20 P.M.
    By Mr. Lazarus                 5
                                                                            ERIC LU,
                                                            called as a witness by and on behalf of the Defendants
                                                            and Counter-Claimant, having been placed under oath, was
        DEFENDANT and COUNTER-CLAIMANT'S EXHIBITS           examined and testified as follows:
    Exhibit 1     First Amended Counterclaim of
              Digital Gadgets, LLC, for Breach
              of Contract, Breach of Contract,                              EXAMINATION
              Breach of Implied Warranty of
              Merchantability, Breach of                    BY MR. LAZARUS:
              Warranty, Negligence, Fraud, and
              Indemnification               50                Q. Good morning, Mr. Lu. My name is
    Exhibit 2     Answer to First Amended                   Harlan Lazarus, and I represent Digital Gadgets. I'm
              Counterclaim                  50
                                                            here today to take your deposition in a matter,
    Exhibit 3     E-mail Chain, Top E-mail to
              "Eric," from Chris Mitchell,                  Interworks Unlimited against Digital Gadgets.
              Dated 6/7/17                 57
                                                                   Have you ever been deposed before?
    Exhibit 4     E-mail Chain, Top E-mail to
              Charlie Tebele, from Chris                      A. Yes.
              Mitchell, Dated 6/30/17          66
                                                              Q. How many times?
    Exhibit 5     E-mail Chain, Top E-mail to Chris
              Mitchell, from "Eric," Dated                    A. Two.
              12/21/16, Bates Labeled Digital
              Gadgets 35                  80                  Q. And when were those depositions?
    Exhibit 6     E-mail Chain, Top E-mail to                 A. About maybe ten years ago.
              Charlie Tebele, from Chris
              Mitchell, Dated 3/6/17, Bates                   Q. Well, in either of those depositions, did you
              Labeled Digital Gadgets 244 to
              -246                     82                   testify on behalf of Interworks Unlimited?
    Exhibit 7     Letter to Digital Gadets, LLC,              A. No.
              from the Rubin Law Firm, PLLC,
              Dated 7/10/16                 92                Q. Okay. In either of those depositions, were you
    ///                                                     a plaintiff or a defendant?

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      A. Plaintiff.                                             years --
      Q. Okay. I'm going to ask you questions during             A. Yes.
    the course of the day. To the best of your ability,          Q. -- of its existence?
    please answer my questions. To the best of your                   And are your offices there?
    ability, when I'm asking a question, please wait for me      A. Yes.
    to finish the question before you answer it, and I will      Q. Do you know a company, Digital Gadgets, LLC?
    do my best to not interrupt you when you're answering.       A. Yes.
      A. Okay.                                                   Q. And how do you know them?
      Q. You have to answer verbally so that the court           A. They were introduced to me by a sales -- a VP
    reporter can take it down. If, during the course of the     of sales at Chic.
    examination, you wish to confer with counsel, that's         Q. And who is the VP of sales?
    fine, except I would ask you that you answer a pending       A. Her name is Janet, last name is Lu, L-u. Not
    question before you confer with counsel. So if we're in     related.
    the middle of a question, before you speak to counsel,       Q. And who is Chic?
    you should try your best to answer the question.             A. Chic is the manufacturer of the hoverboard.
           Of course, if you don't understand the                Q. When did this introduction take place?
    question, you can ask me to rephrase it. And, lastly,        A. To my recollection, it's sometime in September
    if during the course of the morning, you wish to take a     or October of 2016.
    break -- during the course of the day, I should say --       Q. And do you recall the reason for the
    just let me know, and we'll take a break.                   introduction?
      A. Okay.                                                   A. Yes. Digital Gadgets -- Chris Mitchell, who
      Q. By whom are you currently employed?                    was trying to solicit Chic for distribution in the
      A. Interworks Unlimited.                                  U.S. -- we -- Interworks has the exclusive distribution.
      Q. And what is your position?                             And an introduction was made between Janet and Chris, to
      A. President.                                             me, for the reason that they want to sell Chic products
                                                    Page 7                                                           Page 9
     Q. What is the business of Interworks?                     in the United States. And that's the reason for the
     A. Distribution.                                           introduction, is they can buy directly from us because
     Q. Distribution of what?                                   we're the distributor -- the exclusive distributor.
     A. Distribution of gaming, consumer electronics,            Q. So Mr. Mitchell had made inquiry of Chic to
    and toys.                                                   acquire product from them --
     Q. And are you the owner of Interworks?                     A. Correct.
     A. Yes.                                                     Q. -- and Ms. Lu advised Mr. Mitchell that
     Q. Are there any other owners?                             Interworks was the exclusive distributor, and therefore
     A. No.                                                     put the two of you together?
     Q. How many employees does Interworks have?                 A. Correct.
     A. Nine.                                                    Q. Now, at the time of this introduction, what was
     Q. Is Tony Tu one of your employees?                       the business relationship between Chic and Interworks?
     A. Yes.                                                          What were you the exclusive distributors of?
     Q. What's his position?                                     A. Exclusive distributors for their hoverboards.
     A. He's the accounts executive.                             Q. Do they make a product besides hoverboards?
     Q. And what are his duties and responsibilities?            A. Solely hoverboards.
     A. His duties are to assist me to process -- to             Q. And was the exclusivity that you had, was that
    communicate with our clients, customers, and our            in a writing?
    vendors.                                                     A. Yes.
     Q. How long has Interworks been in business?                Q. Has that writing been produced in this lawsuit?
     A. Almost ten years.                                        A. I'm not sure.
     Q. Where is Interworks located?                                  MR. LAZARUS: I'd call for the production of
     A. Interworks is located at 2418 Peck Road,                the exclusivity agreement.
    City of Industry, California 90601.                          Q. When did Interworks and Chic enter into the
     Q. Has it been at that location for the ten                exclusivity agreement?

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     A. Sometime in 2015.                                              (Whereupon, the record was read back
     Q. Prior to the exclusivity arrangement, were you                 by the Court Reporter as follows:
    doing business with Chic?                                          "Q. Prior to the exclusivity
     A. Yes, we were.                                                  arrangement, had you made sales of
     Q. And the prior business consisted of purchasing                 hoverboards to QVC?")
    hoverboards?                                                       THE WITNESS: No.
     A. Correct.                                                 BY MR. LAZARUS:
     Q. And how long had that prior business gone on?              Q. To whom had you made sales?
     A. Probably for about a year.                                 A. Again, that's a trade secret. I --
     Q. Tell me, please, how it came to pass that the              Q. What's secret about it?
    arrangement became an exclusive.                               A. Because Digital Gadgets is a competitor, and
     A. Well, for a business relationship, you know, we          they have all rights to get the information from who I'm
    sold their product. They needed a distributor for the        selling to so they can attempt to solicit my accounts.
    U.S. channel. And we had the retail channels; so, you        So for that reason, I don't think that I should disclose
    know, that's kind of how it came about.                      any of the retail accounts. I mean, if you can figure
     Q. They had no other distributor in the U.S.?               what the retail accounts are, you know, it's what is out
     A. At that time, no.                                        there. It's retailers.
     Q. Did they propose the exclusive arrangement, or             Q. Okay. So exactly why it's not confidential or
    did you?                                                     secret.
     A. I think it was mutual.                                         So which retailers was it?
     Q. In your earlier answer, you used the                       A. It's secret in who is selling hoverboards. I
    expression, "we had the retail channels."                    don't want to disclose that.
          What does that mean?                                     Q. Okay. So on your counsel's instruction, you're
     A. Retail channels is your retail stores in the             refusing to disclose your customer base for hoverboards;
    United States. You know, big-bucks stores. Your -- you       is that correct?
                                                      Page 11                                                         Page 13
    know, your Wal-Mart, Target, your Best Buy, Toys "R" Us.      A.    That's correct.
    You know, big-bucks retailers.                                     MR. HSU: I reiterate my objection and
     Q. When you say "We had the retail channels," what          instruction. Thank you.
    do you mean?                                                       MR. LAZARUS: And your objection is it's a
     A. That means we sell to the retail channels.               secret?
     Q. Okay. Did you have any exclusivity arrangement                 MR. HSU: Trade secret. Without a protective
    with any retailer?                                           order, you're not going to get it. And I offered you.
     A. No.                                                            THE REPORTER: I'm sorry?
     Q. Prior to the exclusivity arrangement, had you                  MR. HSU: "And I offered you."
    sold hoverboards to the retail channel?                            MR. LAZARUS: Don't try to justify your
     A. Yes.                                                     misconduct.
     Q. To whom did you make those sales?                              MR. HSU: You can say whatever you want.
          MR. HSU: Hold on.                                            MR. LAZARUS: I will say whatever I want.
          Objection. Trade secrets. Not reasonably               Thank you.
    calculated to lead to any admissible evidence.                     MR. HSU: It's your deposition.
          Where are we going?                                          MR. LAZARUS: It is my deposition.
    BY MR. LAZARUS:                                               Q. For what period of time prior to the
     Q. Okay. Just answer the question.                          exclusivity arrangement had you sold hoverboards to QVC?
          MR. HSU: I instruct the witness not to answer.          A. Did you say "prior to the exclusivity"?
          MR. LAZARUS: Okay. Mark that, and I will seek           Q. Yes, sir, that's what I said.
    sanctions.                                                    A. I did not sell hoverboards to QVC.
     Q. Prior to the exclusivity arrangement, had you             Q. Okay. So after -- the first sales by
    made sales of hoverboards to QVC?                            Interworks, to QVC, of hoverboards came after you
     A. Can you repeat that question?                            entered into the exclusivity arrangement?
          MR. LAZARUS: Could you read the question back.          A. Correct.

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      Q. Okay. And how many units did you sell?                    Q. And they told you that the airing would be
      A. Roughly, off my head (verbatim), about 10,000.           approximately November of 2016?
      Q. Over what period of time?                                 A. Right.
      A. Of a one-month period.                                    Q. Okay. When did you take in the -- withdrawn.
      Q. What month?                                                    Did you physically receive the hoverboards from
      A. The month of November.                                   Chic?
      Q. What year?                                                A. Well, the goods came in late October, beginning
      A. 2016.                                                    of November. And products came in in sequence. It's
      Q. And what model hoverboard did you sell?                  coming in containers. It's a large volume; so it's many
      A. It's the High Roller Model C.                            containers that come in. So around that period of time,
      Q. Prior to selling hoverboards to QVC, had you --          products are flowing in.
    Interworks made sales of products to QVC?                      Q. In the fall of 2016, sometime in October?
      A. No.                                                       A. Right.
      Q. Who introduced you to QVC?                                Q. And where did they come into?
      A. I contacted QVC.                                          A. The Long Beach port and then to my warehouse.
      Q. And when did you do that?                                 Q. Okay. Where is your warehouse?
      A. Around April of 2016.                                     A. 2418 Peck Road.
      Q. And who did you contact?                                  Q. And did you take in 10,000 pieces from Chic,
      A. The buyer, Meghan Kane.                                  approximately?
      Q. And between April of 2016 and November of 2016,           A. Yes.
    how did it develop that you were able to sell                  Q. And were all 10,000 of those sold to QVC?
    10,000 units to QVC?                                           A. Yes.
      A. Well, we made our sales pitch. We presented               Q. Other than -- other than those 10,000 pieces,
    our product. And Chic has the patent for the                  and in the period of calendar year 2016, had you taken
    hoverboard; so at that point, QVC decided to bring it on      in any other hoverboards for any other customer?
                                                       Page 15                                                     Page 17
    board.                                                         A. Yes.
      Q. At what point?                                            Q. Okay. And how many pieces did you sell?
      A. What's that?                                              A. Probably in the range of another, give or take,
      Q. At what point did they decide to bring in your           10,000.
    board?                                                         Q. And was that before or after you took in the
      A. I would say somewhere around June -- June, July          pieces for QVC?
    time frame.                                                    A. Before.
      Q. And from June to November, what happened?                 Q. And after you took in the 10,000 pieces to --
      A. Can you rephrase that?                                   for QVC, did you ever again take in hoverboards for sale
           "What happened"? What do you mean, "what               to QVC -- for Interworks sale to QVC?
    happened"? I'm not understanding the question.                 A. Yes.
      Q. Well, if they decided to bring them in in June,           Q. When?
    and the first sales were in November, what happened in         A. Like I said, products were coming in from --
    the period between June and November relative to those        you know, coming in for the holidays. So there needs to
    sales?                                                        be replenishment. So there were goods coming in
      A. Well, between the time between June and                  through -- every month, there's goods coming in.
    November, when they needed the goods, they -- as a                  (Interruption in proceedings due to cell
    buyer, they have to plan when they're going to air it         phone.)
    because, as you know, QVC is not a -- QVC is not a                  MR. LAZARUS: Excuse me.
    retail store. So they have to book an airing time. And              Yeah? I am. You're --
    during that process, they're setting up for the                     THE WITNESS: You have to type that. He didn't
    holidays. So they're going to -- you know, we discuss         say "Off the record."
    the product, then they gave us airing time when they                THE REPORTER: I can do my job, thank you.
    needed to deliver the goods and when they're going to do      BY MR. LAZARUS:
    the airing. So...                                              Q. I'm sorry.

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           After the 10,000 pieces were taken in, were             Q. Where were they delivered?
    they delivered to QVC?                                         A. They were delivered to the Phoenix distribution
     A. Which 10,000? Before or the after?                       in Santa Fe, which is Digital Gadgets's third-party
           I told you, there's before QVC and after --           warehouse logistics company.
    after I shipped 10,000 QVC items. So -- so before or           Q. And if you know, after delivery to Phoenix,
    after?                                                       where did those goods next go?
     Q. Okay. You said you took in 10,000 pieces for               A. Those goods, to my understanding, should be for
    QVC in October.                                              QVC's customers.
     A. Right. Right.                                              Q. Do you mean to say that they were shipped out
           Then, after, there's a continuation of products       of the Phoenix warehouse, to your understanding, direct
    coming in.                                                   to the QVC customer?
     Q. Okay. Were all 10,000 pieces shipped to QVC?               A. Correct.
     A. Yes.                                                       Q. Now, in what manner -- withdrawn.
     Q. Were they shipped, or were they called out by                  What is the reason that that was an expedited
    QVC customers --                                             manner of doing business?
     A. They were shipped to QVC.                                      How did you save time?
     Q. Okay. The subsequent pieces, over what period              A. Well, saving time is -- the transit time from
    of time would you make those shipments?                      our warehouse to -- to QVC's DC takes about seven days.
     A. Well, the remaining -- the flow of products              Okay? And for QVC to receive the goods and prepare the
    that's coming in, those are for our other customers, for     goods to ship, I don't know how long that's going to
    reorders and for the holidays. So, you know, there's         take. Okay? So with the drop-ship, they can
    always a flow of products coming in. It's not 10,000         immediately ship directly to the consumer versus going
    for QVC and you stop. There's a flow of products.            to the DC -- to the distribution center and the
     Q. Okay. But I asked you about QVC.                         distribution center out to that consumer.
           When did you next ship goods to QVC after the               And, again, the reason that we did the
                                                      Page 19                                                        Page 21
    10,000 pieces?                                               drop-ship is because it's a timing and it's
      A. After we shipped the 10,000 pieces to QVC, the          Christmastime, and so people want their gifts before
    next shipment, we actually went through Digital Gadgets.     Christmas.
      Q. What does that mean, "we went through                     Q. You will recall that you answered, a minute or
    Digital Gadgets"?                                            two ago, when I was asking you about the shipments --
      A. So Interworks sells directly to QVC, to their           after the 10,000 units, when your next shipments were to
    direct DC vendor. Digital Gadgets is a drop-ship             QVC, and your answer was that the next shipment was
    vendor. And due to the timing and the holidays, QVC          actually through Digital Gadgets.
    needed more products and the timing for us to ship to               Do you recall that?
    the DC for the airing out to the customers, and the            A. Mm-hmm.
    timing didn't work out. So that's where Digital Gadgets        Q. Okay. So was there an agreement, between you
    came in and asked to work together to do the online side     and Digital Gadgets, pertaining to the sale and delivery
    or the drop-ship side. So we sold Digital Gadgets goods      of hoverboard units, by Digital, to QVC, at the time
    so that they can be the drop-ship vendor for QVC.            that you made the sale to Digital Gadgets?
      Q. The goods -- the 10,000 pieces that Interworks            A. When you refer to "agreement," do you -- are
    sold to QVC were delivered to the QVC distribution           you referring to a contract, or are you referring to a
    center?                                                      PO? What are you referring to, "agreement"?
      A. Correct.                                                  Q. Do you know what an agreement is?
      Q. And they were billed to QVC by Interworks?                A. I do know what an agreement is, but there's
      A. Correct.                                                many forms of "agreement."
      Q. The drop-ship goods that you're referring to              Q. Thank you.
    were delivered -- withdrawn.                                        Was there an agreement between you and
          Were the drop-ship goods that you referred to          Digital Gadgets whereby you and Digital Gadgets
    delivered to the DC?                                         understood that these hoverboards would go to QVC?
      A. No.                                                       A. The agreement is they're PO'd to us.

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     Q. The Digital Gadgets PO?                                 Q. Now, the units for the first order, when --
     A. Correct. Digital Gadgets's PO.                         when that order was placed by Digital Gadgets, did
     Q. Okay. However, again, referring to your                Interworks have those units in inventory?
    earlier answer, you stated that your next shipment to       A. Yes.
    QVC went through Digital Gadgets --                         Q. How about when the second order came?
     A. Correct.                                                A. Yes.
     Q. Do you recall that?                                     Q. And when -- when did you acquire those units?
          -- so when Digital Gadgets purchased those            A. Again, it's between November through December.
    goods from Interworks, was it your understanding that      The whole -- products come on a container load. And
    Digital Gadgets would deliver those units to QVC?          there's 2,400 per container; so they come on a weekly
     A. That's correct.                                        basis.
     Q. And how many units were -- were subject of this         Q. Were they -- did they arrive at the same time
    agreement?                                                 as the 10,000 pieces that you shipped to the QVC drop
     A. 4,800 pieces for the first order.                      center?
     Q. First quarter of what year?                             A. No. They come two or three containers per
     A. No. First order.                                       week. So in sequence, they come, you know, on the -- on
     Q. I'm sorry. First order. Okay.                          a week-to-week basis. Not in one shot, the 10,000, but,
          And what model was that?                             you know, little by little they trickle in.
     A. Model C.                                                Q. Am I correct that the 10,000 pieces that you
     Q. Now --                                                 sold to QVC arrived contemporaneous with the
     A. And a second order of 5,800 pieces.                    4,800 pieces that ultimately went through
     Q. And timing-wise, when was the 4,800-piece order        Digital Gadgets?
    placed?                                                     A. Can you repeat that question?
     A. 4,800-piece order was placed roughly around             Q. Let me try again. Did you --
    beginning of December.                                      A. Yeah.
                                                  Page 23                                                           Page 25
     Q. And the 5,800-piece order?                              Q. Did these -- did you buy 10,000 pieces for drop
     A. 5,800 pieces was around early January.                 for your shipment to the QVC DC, and then buy
     Q. Now, prior to the placement of those orders --         4,800 pieces for Digital Gadgets to drop-ship?
    and, by the way, I want to be clear.                       (Verbatim.)
          Those were Digital Gadgets orders to                  A. No. We bought -- we bought 20,000 units --
    Interworks; correct?                                        Q. Okay.
     A. Correct.                                                A. -- from the factory. And the units that come
     Q. Okay. Prior to the placement of those orders,          in, we allocate 10,000 to QVC, which they committed to;
    by Digital Gadgets, with Interworks, had you spoken to     and then whatever that QVC wanted additionally for the
    QVC concerning the routing of these goods through          drop-ship, that's what Digital Gadgets ordered.
    Digital Gadgets?                                            Q. Okay. And is there a piece of paper from
     A. Yes.                                                   Interworks, to Chic, that is an order for 20,000 units
     Q. With whom did you speak?                               of hoverboards -- these 20,000?
     A. Again with Meghan Kane.                                 A. You mean like a PO?
     Q. Tell me what those conversations were.                  Q. Yes, sir.
     A. The conversations were, "How can we expedite            A. Of course.
    more products?" "How can we sell and push more units        Q. Okay. And do you, Interworks, maintain a copy
    for the holidays?"                                         of that PO?
          And the solution was to use a drop-ship vendor.       A. Of course.
     Q. And that was Digital Gadgets?                                 MR. LAZARUS: I call for the production of that
     A. So -- Digital Gadgets. Correct.                        purchase order, which I don't think has been produced.
     Q. And that's the earlier story you told me about                THE WITNESS: But again, Roger, with this is
    the introduction? That's the reason for the                this is a trade secret, also, because that's my factory.
    introduction?                                              And this document -- I mean, this document has all the
     A. Correct.                                               information -- costs and -- you know, the factory

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    information. And I don't want this disclosed because --     you referring to working in the pick-and-pack, or are
    BY MR. LAZARUS:                                             you talking about working in the office?
      Q. I'm not interested in -- I understand what                   I mean -- you know, the question is kind of
    you're saying. I don't need the explanation. You don't      vague. Like, you know, working in the warehouse -- my
    want to produce it. I will take it up with the court        employees who do processing don't really work in the
    down the road. I don't need the explanation.                warehouse.
          MR. HSU: Yeah. When the request is being               Q. Then you answered the question.
    made, we can respond to it.                                  A. Yeah.
          MR. LAZARUS: The request is being made now,            Q. How many work in the warehouse?
    and I will put it in writing when I get the transcript.      A. About three, four.
    But I do want to go on record. I want the PO -- or POs       Q. Okay. And how many work in the office
    from Interworks, to Chic, for these -- for these            associated with the warehouse?
    hoverboards.                                                 A. About five.
      Q. Now, when the hoverboards -- these                      Q. Is Mr. Tu one of those?
    20,000 pieces arrived, were they all received at the         A. He's one of the five.
    Interworks warehouse?                                        Q. Do the four warehouse workers have different
      A. Yes.                                                   duties from one another?
      Q. And the approximately 10,000 pieces were                A. No.
    drop-shipped to -- pardon me -- were -- withdrawn.           Q. Okay. What do they do? What do they do when
          10,000 pieces, approximately, were shipped to         goods are received?
    the QVC distribution center, and another 10,000 over         A. They unload containers, pick-and-pack.
    time, approximately, went to the Phoenix warehouse for       Q. So our record is clear, when you say
    Digital Gadgets?                                            "pick-and-pack," what does that mean?
      A. Correct.                                                A. That means they take the product, label the
      Q. Was there one PO to Chic, from Interworks, for         product with the shipping information, and get it ready
                                                    Page 27                                                          Page 29
    these 20,000 pieces, or more than one?                      and prepare to ship.
     A. Through the year or...? I mean --                        Q. And in the ordinary course, do they inspect the
     Q. These 20,000 pieces that we've been talking             received units?
    about.                                                       A. They do not inspect goods.
     A. I don't remember how many POs. But it could be           Q. Why not?
    one; it could be two.                                        A. Well, let me rephrase that.
     Q. Okay. And what was ordered on the POs?                        When you talk about "inspect the goods" -- so
     A. The Model C hoverboards.                                are you talking about opening the boxes and looking into
     Q. And the Model C hoverboards that were shipped           the products and inspecting the products, or are you
    to the QVC distribution center, were they from the same     talking about making sure that the boxes are not damaged
    POs that were shipped by Interworks to -- to Phoenix,       from the outside?
    the warehouse for Digital Gadgets?                           Q. Okay. Whichever one you want.
     A. Yes.                                                          Do they inspect the goods or not?
     Q. So that the hoverboards that went from                   A. Well, they do inspect the goods, looking --
    Interworks to QVC should have been identical to the         making sure that the product is not damaged from the
    hoverboards that went from Digital to -- drop-shipped to    outside.
    QVC's customers?                                             Q. So they don't open the box?
     A. Yes.                                                     A. They do not open the box. However, we do do
     Q. And when -- withdrawn.                                  spot checks. So what we do is Tony -- he goes out there
          Of the nine employees that Interworks has, were       and opens certain boxes, turn it on, turn it off to test
    they all there in calendar year 2016 and '17?               the products. (Verbatim.) And after that is done, then
     A. I believe so.                                           everything goes out.
     Q. And how many of those employees were at the              Q. Do you know that Mr. Tony Tu did that with
    warehouse or worked at the warehouse?                       respect to the hoverboards that were delivered, by
     A. So when you say "worked at the warehouse," are          Interworks, to Digital Gadgets?

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                                                         Page 30                                                        Page 32
     A. Yeah, he did do the inspection.                             products arrived at your warehouse, what paperwork came
     Q. How do you know?                                            with the hoverboards?
     A. Because he inspects the product. That's part                  A. That would be standard bill of lading. And I
    of his job.                                                     believe the -- the performer invoices from -- from
     Q. Okay. But do you know that he inspected these               the -- from the factory that comes along with the bill
    goods?                                                          of lading.
     A. Yes.                                                          Q. Now, prior to the 20,000 pieces that we're
     Q. How do you know that?                                       talking about arriving at the Interworks warehouse, and
     A. Because he -- he communicated with                          in the process of Interworks making sales to QVC, did
    Digital Gadgets that, you know, the products that went          Interworks supply product specifications to QVC for
    out -- (inaudible) his inspections.                             these hoverboards?
          MR. LAZARUS: Could you repeat the --                       A. Yes.
          THE REPORTER: Did you say "passed his                       Q. Okay. And how do you know that that happened?
    inspections"?                                                    A. Well, that's -- that's a requirement for
          THE WITNESS: Huh?                                         documentations that they request and that we submitted
          THE REPORTER: "Because he -- he communicated              to them.
    with Digital Gadgets that, you know, the products that            Q. What are those documentations?
    went out" --                                                     A. The UL certifications and patent. And I
          Did you say "passed his inspection"? Is that              think -- I think those are the two major ones that we
    what you said?                                                  have submitted to them.
          THE WITNESS: "Passed inspection"?                           Q. Do you know if third-party test reports were
          THE REPORTER: I'm asking you.                             submitted?
          THE WITNESS: Oh, okay.                                     A. I believe so.
          Yeah, make sure that the products are spot                  Q. And who at Interworks was tasked with sending
    checked and tested, and make sure they're good.                 those documents for the --
                                                         Page 31                                                        Page 33
    BY MR. LAZARUS:                                                  A. Tony sent those documents.
     Q. So how do you know he did this?                               Q. Did Tony set up the hoverboard product on the
     A. How do I know he did that?                                  QVC vendor portal?
           Well, that's part of his job. I mean, I don't             A. Yes.
    know if did he it or not, but he -- that's -- he claimed          Q. What does that mean? What did he do?
    that he did. He said that he did. And that's part of             A. So I don't handle that aspect. Okay? So what
    his job. And that's not only for QVC. That's for every          that means is -- to my knowledge, is putting up the
    customer that we ship the products to.                          vendor number, the UPC number, you know, the cost.
           One thing is -- that we do clearly is, when the          Basic setup information.
    goods come in, instead of having the guys that did the            Q. Okay. And do you know if QVC has a process
    pick-and-pack, I have Tony, which is a more knowledge           whereby they pass or fail proposed products?
    and detailed person, inspect the product.                        A. I think so.
     Q. And the inspection that you referred to was he                Q. Are you a participant, you personally, in that
    opened boxes and turned the product on and off?                 process?
     A. Right. Testing the product if everything is                  A. No, I'm not.
    functioning correctly.                                            Q. Who is?
     Q. Which means turning it on and turning it off?                A. Tony was the one who did the processing.
     A. Turning it on, making sure the wheels spin                    Q. Okay. Does Tony -- was it Tony's job to
    and -- you know, that's a typical test that we do.              physically send a hoverboard to QVC for their
     Q. Do you keep records of those tests?                         inspection?
     A. We don't have records of those tests.                        A. Yes.
     Q. Do you know if Mr. Tony Tu kept records of his                Q. And do you know how many hoverboards were sent
    testing?                                                        to QVC for QVC's approval before delivery of the
     A. I don't think he -- we keep testing records.                10,000 pieces by Interworks?
     Q. Now, when the products arrive -- the hoverboard              A. I'm not -- I'm not sure how many pieces they

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     Q. Okay. But do you know if the units you                            MR. HSU: That is a speaking objection. But
    purchased from Chic were manufactured by Chic all at the        prior to that, it wasn't.
    same time?                                                      BY MR. LAZARUS:
     A. To my understanding, yes.                                    Q. How do you know the goods were accepted?
     Q. Do you know what a "lot" is?                                 A. Same thing as conforming, you know. We
     A. I know what a "lot" is.                                     understand that the product is -- the product that we
     Q. What is a "lot"?                                            receive and accept are the quality product that Chic
     A. A "lot" is what they produce in a group, what               produces, based on what they have on their patent,
    goes out.                                                       what -- their claims on the patents, and what components
     Q. Were these goods -- I'm sorry.                              they use in their patented product.
          Were the goods received by Interworks in the               Q. And the products that you received that were
    fall of 2016 from one lot or more than one lot?                 sent or delivered by Interworks to the QVC distribution
     A. Again, we PO for 20,000 pieces. And what we                 center were supposed to be conforming and the same as
    receive should be from one lot.                                 the products that were delivered by Interworks to
     Q. Why do you say it should be from one lot?                   Digital Gadgets for drop-shipment; is that correct?
     A. Or it is from one lot.                                       A. Correct.
     Q. How do you know?                                                  MR. LAZARUS: Let's take a two-minute break.
     A. I don't know.                                                     (Brief recess.)
     Q. And do you know that -- or do you know if, in                     MR. LAZARUS: Back on the record.
    the course of manufacturing consumer electronic                  Q. Mr. Lu, do you know a person Charlie Tebele?
    products, there's a variation, from time to time, in the         A. Yes.
    product of goods from lot to lot?                                Q. Have you ever met him?
     A. I'm a distributor. So I'm not a manufacturer.                A. Yes.
    So I'm not very familiar with that.                              Q. When did you meet him first?
     Q. And you don't check for it?                                  A. CES 2017.
                                                         Page 43                                                       Page 45
     A. I look at, I visit the factory. I see the                    Q. And what is CES?
    production line. And from what is proven and shown to            A. Consumer Electronics Show.
    me at the factory, I have all reason to believe that             Q. And that show is usually in January, is it not?
    these are high-quality goods. They've presented the              A. Beginning of January.
    patent. So, you know, the -- my understanding, these             Q. Prior to meeting Mr. Tebele at CES 2017, had
    are the superior products, compared to what's in the            you ever spoken to him?
    market.                                                          A. Yes.
     Q. Referring again to Paragraph 9, "Even though                 Q. How much prior to CES had you spoken to him?
    the hoverboards were conforming and accepted" -- what do         A. I don't recall how many times, but there were a
    you mean when you say they were accepted?                       few conference calls.
     A. They're accepted because, again, the products                Q. How much backwards in time was that?
    are from Chic. And they have the patent to support                     Weeks? Days? Months?
    their product, and they have the quality control to              A. Probably months.
    support their product.                                           Q. Was Mr. Tebele the first person you spoke to
     Q. But what do you mean, they were -- these                    after the introduction by Meghan?
    hoverboards were accepted?                                       A. No.
          MR. HSU: Objection. Calls for a legal                      Q. Who you did you speak to first?
    conclusion. And calls for speculation.                           A. Chris Mitchell.
          MR. LAZARUS: Okay. No speaking objections.                 Q. Okay. And how many times did you speak to
          The witness can answer.                                   Chris Mitchell before you met with Mr. Tebele?
          MR. HSU: That's not a speaking objection.                  A. Numerous times.
          MR. LAZARUS: That's a speaking objection.                        So can I ask a question?
          MR. HSU: That's my document, not his document.                   So it's my understanding that Mr. Mitchell is
    How --                                                          no longer with the company. Is that... just asking if
          MR. LAZARUS: It's a speaking objection and --             he's still with the company.

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    would pass the quality control inspection in industry            Q. I want you to look, please, at Paragraph --
    standard -- the QC control is done on the factory level,        withdrawn.
    which is the manufacturer, which is Chic. So the                      I want you to look, please, at Lu 2, and
    products that we received and the products that we sell         specifically at Page Number 6. I apologize. Page
    are warranted by Chic, which is a factory. So this              Number 5.
    statement here, this clause here is really incorrect.                 Do you see there's a Paragraph 44 there?
     Q. It's incorrect?                                              A. Mm-hmm.
     A. Yes, because we're not the manufacturer.                     Q. And if I told you that each paragraph of the --
     Q. Okay. So are you -- is it your testimony that               your answer corresponds to a similarly numbered
    you did not warrant to Digital Gadgets that the goods           paragraph of the complaint, would you agree?
    would pass QVC quality control?                                  A. Not understanding the question.
     A. Well, we -- we don't warrant the goods because               Q. Okay. Well, do you see Paragraph 44 of the
    that's the manufacturer's job. So if there is a problem         third counterclaim, which is the one that we were
    with the product, it would be returned back to the              looking at?
    factory for credit. Okay? So it's not our                        A. The first counter -- the first one?
    responsibility, because we're a distributor and not the          Q. Third counterclaim, Page 7.
    manufacturer; so we don't warrant the goods.                     A. Okay.
     Q. Well, DG could not have returned the goods to                Q. And that's the paragraph we just looked at.
    Chic for credit because they weren't billed by Chic.                  Do you see that?
     A. But DG has -- when -- we've requested DG to                  A. Mm-hmm.
    ship the goods back to us, but they refused.                     Q. And do you see that that's the one where
     Q. But that's not my question. My --                           Interworks warrants the quality -- would pass quality
     A. But that's my answer to --                                  control inspection and industry standards? Do you see
     Q. My question is that DG had no contract with                 that?
    Chic and, therefore, could not have returned the goods           A. Right.
                                                         Page 55                                                        Page 57
    to Chic for credit because they didn't buy them from             Q. And do you see, at Paragraph 44 of the answer,
    Chic.                                                           Interworks admits that?
      A. But they could have returned it back to us, and             A. That it passed the quality control?
    we would have returned it back to the factory.                   Q. You admit that it would pass the quality
      Q. Because you were their supplier?                           control?
      A. Correct.                                                    A. Correct.
      Q. Okay. And the question, however, that led us                Q. And you admit that it would pass the quality
    down this path was, did you, Interworks, warrant the            control of QVC?
    quality of these goods to Digital Gadgets?                       A. Yes.
      A. So the factory warrants the products to                          MR. LAZARUS: Okay. I'd like to have marked as
    Interworks, which -- we warrant the product to                  the next exhibit, which would be Lu 3, an e-mail chain
    Digital Gadgets. So should Digital Gadgets have any             consisting of two pages, the first of which is an e-mail
    issues with the quality, it would be a -- it should be          from Chris Mitchell to Eric, the next is an e-mail from
    returned back to us, and then we would pass it back to          Eric to Chris Mitchell, and the next is from
    the factory.                                                    Chris Mitchell to Eric. It's dated June 7th, the
           However, Digital Gadgets never paid for the              Chris Mitchell e-mail, at the top; and June 6th is below
    goods; so I don't know how it can credit them for the           that.
    goods.                                                                (Defendant/Counter-Claimant's Exhibit
      Q. Did you tell Digital Gadgets that the goods                      Lu 3 was marked for identification by
    would pass QVC quality control?                                       the Court Reporter, and a copy is
      A. Well, that's the only way we can sell to QVC,                    attached hereto.)
    is to pass the QVC quality control.                             BY MR. LAZARUS:
      Q. So you told DG that these goods would pass QVC              Q. If you'll take a minute to look at these
    quality control?                                                e-mails.
      A. Correct.                                                    A. Okay.

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          Chic. I will issue an RA tomorrow. I                    business would progress, then we can consider it.
          could only provide you with the documents                Q. And did you ever further discuss it after CES?
          that I have which are provided from Chic,                A. It was requested again by Chris Mitchell on
          and those are the documents that I provided             e-mails, requesting if they can have an exclusivity.
          to you. And what they gave me is also what               Q. And what did you say?
          I have provided to QVC the first time                    A. The answer was "No."
          around. If there's QA submission issues,                 Q. Did you actually say "No"?
          please send me the reports, and I can have               A. Yes.
          Chic provide the documents to me."                       Q. Okay. And you said that in an e-mail?
          Do you see that?                                         A. It said it in an e-mail and in a phone
     A. Mm-hmm.                                                   conversation.
     Q. Did Mr. Mitchell ever submit the submissions to            Q. Do you have that e-mail with you --
    you?                                                           A. No.
     A. I don't recall.                                            Q. -- or available?
     Q. Okay. But you do know -- or you did see                         How about with Mr. Tebele? Did you ever tell
    Ms. Kane's e-mail, where they were trying to contact you      Mr. Tebele, "No, there will not be exclusivity"?
    relative to these products, and Ms. Kane maintains that        A. He was probably CC'd on the e-mails too.
    you refused to cooperate.                                      Q. I want to show you the next e-mail that was
          You saw that; right?                                    previously Bates stamped Digital Gadgets 35 and have
     A. Again, this is not CC'd to me; so I -- I'm not            that marked as Lu 5.
    aware of that. Okay? I don't have any e-mails of them               (Defendant/Counter-Claimant's Exhibit
    sending me requests of that.                                        Lu 5 was marked for identification by
          MR. LAZARUS: Okay. It's a quarter after                       the Court Reporter, and a copy is
    12:00.                                                              attached hereto.)
          MR. HSU: You want to take an hour?                            THE WITNESS: Okay.
                                                      Page 79                                                       Page 81
          MR. LAZARUS: Yeah.                                      BY MR. LAZARUS:
          MR. HSU: Okay.                                           Q. Have you seen that e-mail before?
          (Lunch recess taken at 12:14 P.M.)                       A. Yes.
          (Proceedings resumed at 1:15 P.M.)                       Q. And did you discuss exclusivity with Mr. Tebele
    BY MR. LAZARUS:                                               at CES?
     Q. Mr. Lu, good afternoon.                                    A. Not in great detail.
          Did you ever discuss the possibility of                       And, again, it was their request and asking me
    entering into an exclusive arrangement with                   permission for exclusivity.
    Digital Gadgets for the hoverboard?                            Q. Now, during the period of the fall of 2016, and
     A. It was brought to me. It was asked on behalf              after you delivered to the QVC distribution center the
    of Digital Gadgets. It was never confirmed. And it was        10,000 pieces that we spoke of this morning, did you
    never said that we would go into exclusivity, but it was      continue to deliver High Roller Model Cs to QVC
    something that they wanted.                                   directly?
     Q. When you say, "it was something that they                  A. No.
    wanted," with whom did you discuss exclusivity?                Q. What was the reason?
     A. This was with Chris Mitchell and Chris Tebele.             A. The reason being is QVC wanted to have a
     Q. And did you discuss it with them via e-mail, in           drop-ship vendor to drop-ship the goods.
    person, or by phone, or all of them?                           Q. And did there come a time when you approached
     A. All of them.                                              QVC and asked to resume shipping hoverboards to QVC
     Q. And did you discuss exclusivity with Mr. Tebele           directly from Interworks?
    in person?                                                     A. No.
     A. It was asked for exclusivity, by Mr. Tebele,               Q. You never went back to them and asked them to
    during the CES meeting that we had.                           resume direct hoverboard purchases from you?
     Q. And what did you say?                                      A. Because at that time, QVC did not set up a --
     A. I said we would think about it and see how our            an airing, to my knowledge, to air the product during

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    the summer -- during the period of time. So they had it         A. Well, explaining to them that -- the legal
    online, which -- Digital Gadgets did the fulfillment.         process and how the progress of the case is going for
     Q. I'll show you next an e-mail chain Bates                  Chic and their -- and their -- how they're holding up
    stamped 244 through 246.                                      with their patent against all the copycats.
          I'll have that marked as Lu 6.                            Q. In the same portion at Bates stamp Page 245,
          (Defendant/Counter-Claimant's Exhibit                   you continue, "and also pitch the new Model F and K2
          Lu 6 was marked for identification by                         Mini. As I have told you, I am there to
          the Court Reporter, and a copy is                             discuss the product, either Digital Gadget
          attached hereto.)                                             (sic) or Interworks sells to QVC is not my
          THE WITNESS: Okay.                                            concern."
    BY MR. LAZARUS:                                                     Do you see that?
     Q. Do you see that, in this e-mail chain, the red             A. Mm-hmm.
    comments are yours?                                             Q. What was that in reference to?
     A. Correct.                                                   A. It's in reference to us pitching the new
     Q. And do you see that, at Page 244, towards the             products to QVC; and whether QVC wants to buy directly
    bottom, you write, "Also, these are goods that I              from Interworks for the store, or we can be set up as a
          could have sold to my other accounts, and               direct vendor at the time, or Digital Gadgets can
          I've given you guys a lower cost for                    also -- we can allow Digital Gadgets to sell the Model F
          servicing QVC"?                                         and K2, the new products, to QVC as a drop-ship vendor.
          Do you see that?                                          Q. And was it your contemplation that, while
     A. Mm-hmm.                                                   Digital Gadgets was drop-shipping QVC, you would
     Q. What do you mean, that you gave them a lower              simultaneously be shipping direct to their DC?
    cost for servicing QVC?                                         A. Could be, yeah.
          (Interruption in proceedings due to cell                  Q. Did you ever agree with Digital Gadgets that,
    phone.)                                                       for so long as they were drop-shipping QVC, you would
                                                      Page 83                                                         Page 85
          MR. LAZARUS: I'll call you back.                        not ship direct to the QVC --
          THE WITNESS: I offered them a better cost to              A. No.
    continue to service QVC.                                        Q. -- DC?
    BY MR. LAZARUS:                                                 A. No.
      Q. And how were they servicing QVC?                           Q. What -- why would QVC need both sources of --
     A. Drop-shipping.                                              A. QVC don't -- I'm sorry. Go ahead.
      Q. What did you mean when you used the expression             Q. -- of the hoverboard?
    "servicing"?                                                    A. So QVC does not need both parties. Okay? So
     A. "Servicing" is drop-shipping, because you're a            for me, I can sell QVC directly, which -- they have to
    drop-ship vendor or not a drop-ship vendor.                   have an air time. And with the air time, they would do
      Q. The same exhibit, Bates Stamp Page 244 -- 245.           the -- their airing of the hoverboards. And then we
    Again your red comment, beginning, "As I've been up           would, like the first round, ship the goods directly to
    front with you."                                              the DC, and they would send it out to the consumers.
          "As I have been upfront with you and told                      Now, I can use Digital Gadgets. I can use
          you that I was going to visit QVC, and we               distributor A, B, C, D, E -- whoever I want to use. It
          want to lay to rest all these claims and                doesn't have to be Digital Gadgets. So I can assign
          update the buyers the currently situation               whomever I want to be the drop-ship vendor per QVC
          (sic) with the ITC lawsuit and all the                  wanting -- "Hey, we like to work with this guy," "this
          legal issues surrounding the hoverboards."              guy," "this guy."
          What were you referring to?                                    I can sell it to whomever I want. But
     A. The ITC lawsuit is a -- it is a case of --                initially we were working with Digital Gadgets. So, you
    surrounding Chic suing all the copycats in the market         know, we talked about how, if I'm going to sell the
    making hoverboards.                                           product and if this has to go to a drop-ship, then I'll
      Q. What were you approaching or going to go to QVC          allow them to sell it.
    about?                                                          Q. You would allow Digital Gadgets to do the

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    drop-ship --                                                    number, a PO number, in the left-hand columns?
      A. Correct.                                                     A. Correct.
      Q. -- because you did not want to do the                        Q. Who assigned the PL number?
    drop-ship?                                                        A. That would be from Digital Gadgets.
      A. No. Because we're not a certified drop-ship                  Q. What does that stand for?
    vendor. That's a whole different process.                         A. Purchase order number.
      Q. What does that mean, "a certified drop-ship                  Q. The PL number stands for the purchase order
    vendor"?                                                        number?
      A. So you have to apply to be a drop-ship vendor                A. I'm sorry. The PL number is our sales order
    because the process labeling and that stuff is different        number.
    than shipping it directly to a DC, because now you're             Q. Okay. So is there an internal document called
    shipping directly to a consumer on behalf of QVC so. We         a sales order?
    were not the drop-ship vendor at the time.                        A. Yes.
      Q. So when you say you're not a certified                       Q. And is it something that is printed, or is it
    drop-ship vendor, you mean that QVC had not certified           maintained solely in the computer systems of Interworks?
    Interworks as a drop-ship vendor?                                 A. It is in the system.
      A. Right. We do not have that part of the vendor.               Q. And what --
      Q. And QVC, at the point in time of November or                 A. And it's -- it's also printed.
    thereabouts of 2016, wanted drop-ship goods as opposed            Q. And what does it show on the sales orders?
    to shipments directly to their DC?                                A. The same information that's on the invoice.
      A. Well, the second shipment which we used                      Q. Okay. And this invoice, do you see that the
    Digital Gadgets for was that -- because of the timing           terms state "Net 60 days"?
    issue. And that's why we sold the goods to Digital                A. Correct.
    Gadgets.                                                          Q. What does that mean?
      Q. What about the next shipment?                                A. That means this invoice is due 60 days upon the
                                                         Page 87                                                        Page 89
      A. Well, the second shipment was also the                     ship date.
    continuation. Because they needed more goods, and the             Q. And if you turn, in the document, further on,
    products were selling; so Digital Gadgets continued to          and if you can find the document Bates stamped
    order.                                                          Digital Gadgets 199.
      Q. What was the reason that you did not ship these              A. Okay.
    later shipments direct to QVC?                                    Q. What is this document?
      A. Because we were looking at the new models.                   A. That's a picking sheet.
           MR. LAZARUS: I want to put in front of the                 Q. And what is a picking sheet?
    witness a group of documents that was previously marked           A. A picking sheet is what we would put out for
    Asamoah 1 through Asamoah 5, which we've described on           the shippers to pick the product, and then confirm that
    yesterday's transcript with Mr. Tu.                             it's shipped the units that it was -- it was supposed to
      Q. If you could take a look at that, please.                  be packed.
      A. Okay.                                                        Q. And do you see on that document, one of the
      Q. Mr. Lu, have you had an opportunity to review              notations is "Consignment"?
    the documents in front of you, Asamoah 1 through 5?               A. Mm-hmm.
      A. Yeah.                                                        Q. What does that mean?
      Q. Okay. I want you to turn to the page -- fourth               A. Consignment means we assign the products to the
    page in, which is marked Asamoah 2.                             customer, and they -- yeah, and then they pay the goods.
      A. Okay.                                                        Q. And then they what?
      Q. And do you know what this document is?                       A. They pay the goods as we ship the goods.
      A. Yeah. This is our invoice to Digital Gadgets.                Q. Okay. And did you enter into an arrangement
      Q. Okay. And what product were you invoicing?                 with Digital Gadgets for consignment sales?
      A. High Roller Model C black and High Roller                    A. We did not engage in a consignment deal with
    Model C white.                                                  Digital Gadgets.
      Q. Do you see the Interworks document has a PL                       There was a discussion of consignment under the

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    condition and stipulation of Digital Gadgets providing            declined.
    their financials to our factor to see how much credit              Q. Do you know a business, Cash Capital?
    that they are creditworthy of (verbatim), in which we've           A. Yes.
    requested for two and a half months. And Charlie Tebele            Q. Who is Cash Capital?
    would give us the runaround.                                       A. Cash Capital is our -- it's a lender.
           And, also, the bank -- I'm going to use the                 Q. And when were they your lender?
    word "conspired" with Charlie, saying that they had                A. I believe it's around 2016.
    faxed the information numerous times and our insurance             Q. Are they still your lender today?
    company had never got anything. And we followed up; we             A. No, they're not.
    called. No response from anybody, and never was any                Q. Do you have another lender today?
    financials documents sent to our insurance company.                A. No, I do not.
           And finally they had a credit reference from                     MR. LAZARUS: Can we have this marked, please.
    Digital Gadgets's bank account. And this is prior to                    (Defendant/Counter-Claimant's Exhibit
    Charlie telling us that he has got a gazillion dollars,                 Lu 7 was marked for identification by
    "Don't worry about financial." The bank statement came                  the Court Reporter, and a copy is
    back from Charlie's bank with only $26,000. And I've                    attached hereto.)
    given them one -- almost a million dollars' worth of                    THE WITNESS: Okay.
    products. So --                                                   BY MR. LAZARUS:
      Q. Before you made your shipments to                             Q. Do you recall receiving this notification on or
    Digital Gadgets, did you -- did you do a credit check on          about July 10th of 2016?
    them?                                                                   I would appreciate counsel not directing his
      A. We did not do a credit check because of the --               attention to specific portions of the document. I don't
    first of all, we didn't do the credit check because it            think that's fair or appropriate.
    was very, very time-consuming that QVC needed the                       MR. HSU: Well, I'm looking at the very last
    product. And we rushed it. But Chris Mitchell and                 page, which I've never seen before. I'm not asking any
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    Charlie promised that they would supply the documents to          questions, not pointing out. But go ahead.
    us and we would do it simultaneously. And I think                 BY MR. LAZARUS:
    there's numerous e-mails, me chasing them for the                  Q. Okay. Do you recall receiving this document in
    financials. And they've never complied and gave us the            or about July of 2016?
    financials.                                                        A. I think the date is incorrect. The date should
      Q. And you mentioned a "factor."                                be 2017, not 2016.
           What is a "factor"?                                         Q. Okay. Do you recall receiving this document in
      A. A "factor" is our insurance company for product              July of 2017?
    that is shipped to a customer. And they would need to              A. I don't recall receiving this letter.
    do the credit check and ensure what would be the credit            Q. Did there come a time when you entered into an
    line or what is the company's credit worthy (verbatim)            agreement with Cash Capital?
    of, you know, amount of credits to grant them.                     A. Yes.
      Q. And who was your factor in 2016?                              Q. What was the nature of that agreement?
      A. Our factor is called Bibby Financial.                         A. It was for financing -- financing purchasing.
      Q. Okay. And are you aware that various of the                   Q. Okay. And do you see that the letter of --
    invoices in this lawsuit are marked assigned that                 dated July 10th, of 2016, at the end of the first
    the invoices were assigned and payable to                         paragraph, it writes, "Pursuant to the language of
    Bibby Financial?                                                        the merchant agreement, the merchant has
      A. These invoices were submitted to Bibby at the                      sold, assigned and transferred to CCG a
    time that we were trying to get the credit check and                    certain percentage of its future
    credit reference, as Charlie had said that he's totally                 receivables"? Do you see that?
    creditworthy of millions of dollars.                               A. Okay.
      Q. Were the invoices assigned -- the invoices to                 Q. Is that true?
    Digital Gadgets assigned and payable to Bibby Financial?           A. No.
      A. It was submitted to them, but they were                       Q. So they lied?

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      A. We -- we contacted our insurance company to --              A. No.
      Q. What was the reason that you contacted the                  Q. -- Digital Gadgets?
    insurance company so as to name Digital Gadgets as a             A. No, not for Digital Gadgets and not for any of
    certificate holder?                                             my accounts.
      A. We added them as an additional insured.                     Q. I want to go back to the documents that are
      Q. What was the reason you added them as an                   Bright Asamoah exhibits, 1 through 5, if we can.
    additional insured?                                                  MR. HSU: We're looking at the invoices; right?
      A. Well, that is the -- pretty much part of the               Asamoah --
    process with all the retail accounts and distributors.               MR. LAZARUS: Yes.
    You know, we add them into our umbrella product                  Q. Okay. And I'd ask you to turn to Asamoah 5,
    liability insurance.                                            which has Bates stamp Interworks 472.
      Q. Is that something that's required by the                    A. Okay.
    retailers?                                                       Q. Do you see that Asamoah 5, Bates Stamp
      A. It's required by retailers and distributors.               Interworks 472, is a purchase order?
      Q. Okay. And QVC -- did QVC require that you add               A. Mm-hmm.
    Digital Gadgets as a certificate holder under your               Q. And do you see that it's a purchase order from
    policy?                                                         Digital Gadgets to Interworks?
      A. No.                                                         A. Correct.
      Q. Did Digital Gadgets require that you add them               Q. Do you see that the purchase order has terms
    as a certificate holder under your insurance --                 and conditions?
      A. Yes.                                                        A. Yes.
      Q. -- policy?                                                  Q. Are you familiar with those terms and
      A. Yes.                                                       conditions?
      Q. And did you agree to do that?                               A. The purchase order terms and conditions?
      A. I added them.                                               Q. Yes, sir.
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      Q. Well, do you see that -- you added, but do you                   Have you ever seen them before?
    see the indication in the section of document marked             A. I personally did not read those terms and
    "Description of Operations," "No coverage extended to           conditions.
    hoverboards"?                                                    Q. Okay. And who -- in the ordinary course of the
      A. Well, I guess the --                                       business of Interworks, who would receive purchase
      Q. Do you see that?                                           orders from a customer such as Digital Gadgets?
      A. I do see that.                                              A. It would either go to me or it would go to
           But Digital Gadgets didn't give you the first            Tony.
    certificate, which doesn't have that clause in there.            Q. Okay. And do you know if Mr. Tu ever received
    And the reason for the clause for this certificate was          purchase orders from Digital Gadgets in the form in
    we were changing our insurance company. The old                 front of you as Asamoah 5?
    insurance company had to cancel this policy. That's why          A. I believe so.
    they're no longer covering the hoverboard. We added              Q. Okay. Do you know if he read them?
    another policy to cover all the retailers from covering          A. I do not know if he did or not.
    hoverboards.                                                     Q. Do you know -- did you ever discuss the
      Q. Isn't it true that there was a period of time              purchase order terms and conditions, as they appear in
    in which there were no insurance coverage for                   Asamoah 5, with Mr. Tu?
    Digital Gadgets?                                                 A. No, I did not.
      A. No, because it's a -- it's a bridge-binding                 Q. And do you see that, among the terms and
    policy that, when we did the transition, there was --           conditions, is a term that says, "Buyer may charge
    there was still insurance coverage.                                   seller all expenses of unpacking, examining,
      Q. So there was --                                                  repacking and reshipping nonconforming
      A. There was insurance coverage.                                    goods. In the event buyer receives goods
      Q. -- there was never a time when there was no                      whose defects were nonconforming or not
    coverage for --                                                       apparent upon examination, buyer reserves

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